Case 19-71228          Doc 40        Filed 12/03/19 Entered 12/03/19 12:23:26                       Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF GEORGIA
                                        VALDOSTA DIVISION

 IN RE:                                                  )        CASE NO. 19-71228 JTL
                                                         )
 RICKEY S. CARTER                                        )
                                                         )
          DEBTOR                                         )        CHAPTER 7

     NOTICE OF MOTION TO SURRENDER AND LIQUIDATE LIFE INSURANCE POLICY

 ROBERT M. MATSON, TRUSTEE HAS FILED DOCUMENTS TO APPROVE THE SURRENDER
 AND LIQUIDATE THE DEBTOR’S UNIVERSAL LIFE INSURANCE POLICY ISSUED BY
 FEDERATED LIFE INSURANCE COMPANY.

 YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and discuss
 them with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
 may wish to consult one. If not served with this notice in accordance with the Bankruptcy Code or
 the Federal Rules of Bankruptcy Procedure, a copy of the motion may be obtained upon written
 request to counsel for the Movant or at the Clerk’s office.

 If you do not want the Court to grant the motion to liquidate and surrender the Debtor’s life insurance
 policy or if you want the court to consider your views on the motion, then you or your attorney shall file
 with the court a written objection or response on or before December 24, 2019, pursuant to
 Fed.R.Bankr.P.9006(f). If you are receiving this notice by mail, you may add 3 days to the response date
 stated above. The objection or response should be sent to:

 Clerk, U.S. Bankruptcy Court, Middle District of Georgia, P.O. Box 2147, Columbus, GA 31902 (706)
 649-7827.

 If an objection or response is filed a hearing on the motion shall be held on January 22, 2020 at 10:30
 a.m. at The United States Courthouse, 401 North Patterson Street, Valdosta, GA 31601.

 If you mail your response or objection to the court for filing, you shall send it early enough so the court will
 receive the objection or response on or before the date stated above.

 Any response or objection shall also be served on the movant

 If you or your attorney does not take these steps, the court may decide that you do not oppose the
 relief sought in the motion or objection and may enter an order granting that relief.

 This notice is sent by the undersigned pursuant to M.D. Ga. LBR 6004-1.

          This 3rd day of December, 2019.

                                                          /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                            Robert M. Matson
 P.O. Box 1773                                           Chapter 7 Trustee
 Macon, GA 31202                                         State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION

 IN RE:                                         )      CASE NO. 19-71228 JTL
                                                )
 RICKEY S. CARTER                               )
                                                )
          DEBTOR                                )      CHAPTER 7

   MOTION TO SURRENDER AND LIQUIDATE LIFE INSURANCE POLICY

          Robert M. Matson, duly appointed Trustee in the above referenced case, files his

 Motion to Surrender and Liquidate Life Insurance Policy (“Motion”) pursuant to 11

 U.S.C. § 363(b)(1) and shows the Court the following:

                                               1.

          This Court has subject matter jurisdiction over this case and contested matter

 pursuant to 28 U.S.C. § 1334.

                                               2.

          The Court has personal jurisdiction over the Debtor via consent.

                                               3.

          Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                                               4.

          This contested matter arises out of and relates to the Debtor’s chapter 7 case. This

 is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(N) and a contested matter

 pursuant to Fed.R.Bankr.P. 7001.
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                                                5.

           The Debtor filed a chapter 7 bankruptcy in this Court on October 9, 2019. Robert

 M. Matson (“Trustee”) is the duly appointed trustee in this case pursuant to 11 U.S.C. §

 702(d).

                                                6.

           The Debtor listed a life insurance policy in his amended schedule A/B issued by

 Federated Life Insurance Company (“Federated Life”) with a surrender value of

 $26,703.07. The life insurance policy issued by Federated is referenced as policy no.

 XXX062 and has a cash surrender value of $26,707.00 (“Policy”).

                                                7.

           The Debtor has not claimed an exemption in the Policy, and the Policy has not

 been assigned as collateral.

                                                8.

           The Trustee seeks to liquidate the Policy by requesting the surrender of the Policy

 with Federated. A copy of the surrender form that will be completed and submitted to

 Federated with respect to the Policy, if approved, is attached as Exhibit “A”. Upon

 receipt of the surrender form with respect to the Policy, Federated will terminate the

 Policy and remit the available cash value to the Trustee. Federated will not reinstate the

 Policy.

                                                9.

           The liquidation of Policy will not generate taxable income to the estate, and the

 Trustee is unaware of any other costs associated with the liquidation of the Policy.
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                                             10.

        It is the Trustee’s position that surrender and liquidation of the Policy will benefit

 the estate and should be approved by the Court.

        Wherefore, the Trustee prays that the Court grant his Motion and enter an

 order allowing the Trustee to liquidate the Policy issued by Federated. Pursuant to

 Fed.R.Bankr.P. 6004(f)(2), the Trustee also requests permission to execute and submit

 any document necessary to effectuate the liquidation of the Policy including but not

 limited to the Request for Policy Surrender form attached as Exhibt “A”. The Trustee

 also requests a waiver of the fourteen (14) day stay pursuant to Fed.R.Bankr.P. 6004(h).

        This 3rd day of December, 2019.

                                                /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                  Robert M. Matson
 P.O. Box 1773                                 Chapter 7 Trustee
 Macon, GA 31202                               State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION

 IN RE:                                       )       CASE NO. 19-71228 JTL
                                              )
 RICKEY S. CARTER                             )
                                              )
          DEBTOR                              )       CHAPTER 7

                              CERTIFICATE OF SERVICE

         This is to certify that I have this day served a copy of the Notice of Motion to
 Surrender and Liquidate Life Insurance Policy and Motion to Surrender and Liquidate
 Life Insurance Policy on all interested parties listed on the attached mailing list by
 mailing a true and correct copy of the same in a properly addressed envelope with
 sufficient postage affixed thereto:

          This 3rd day of December, 2019.

                                               /s/ Robert M. Matson
 Akin, Webster & Matson, P.C.                 Robert M. Matson
 P.O. Box 1773                                Chapter 7 Trustee
 Macon, GA 31202                              State Bar No. 477102
 (478) 742-1889
 rmatson@akin-webster.com
                  Case
Label Matrix for local     19-71228
                       noticing       Doc 40 CNHFiled  12/03/19
                                                 Industrial           Entered
                                                            Capital America, LLC 12/03/19 12:23:26
                                                                                             Diversified Desc   Main
                                                                                                         Financial Services, LLC
113G-7                                           Document           Page
                                             c/o John T. McGoldrick, Jr.     7 of 11         c/o Joseph W. Dent
Case 19-71228                                  P.O. Box 1606                                    320 Residence Avenue
Middle District of Georgia                     Macon, GA 31202-1606                             P.O. Box 2008
Valdosta                                                                                        Albany, GA 31702-2008
Tue Dec 3 12:13:17 EST 2019
(p)FARMERS AND MERCHANTS BANK GA               Weeks Farm Machinery Auction, Inc.               7
3303 INNER PERIMETER ROAD                      c/o David L. Bury, Jr.                           901 Front Avenue
VALDOSTA GA 31602-7094                         Stone & Baxter, LLP                              P.O. Box 2147
                                               577 Mulberry Street, Suite 800                   Columbus, GA 31902-2147
                                               Macon, GA 31201-8256

#Georgia Dept. of Revenue                      A&I Products                                     Ag-Pro Companies
Compliance Division                            25639 Network Plance                             P.O. Box 95
ARCS-Bankruptcy                                Chicago, IL 60673-1256                           Boston, GA 31626-0095
1800 Century Blvd., NE, Suite 9100
Atlanta, GA 30345-3205

Alamo Group                                    Alexander’s Replacement Parts                    Amex
P.O. Box 840341                                P.O. Box 28                                      Correspondence/Bankruptcy
Dallas, TX 75284-0341                          Winnsboro, TX 75494-0028                         Po Box 981540
                                                                                                El Paso, TX 79998-1540


Amex                                           Ansung-USA, LLC                                  Atlantic Qual.
Po Box 297871                                  1402 Dunn Drive Suite 110                        P.O. Box 8878
Fort Lauderdale, FL 33329-7871                 Carrollton, TX 75006-6927                        Carol Stream, IL 60197-8878



Bad Boy Inc.                                   Bank of Alapaha                                  Bank of Alapaha
102 Industrial Drive                           P.O. Box 45                                      c/o Karl E. Osmus
Batesville, AR 72501-9776                      Alapaha, GA 31622-0045                           1010 Williams Street
                                                                                                Valdosta, Georgia 31601-4039


Basic Software Sytems                          Bell, Inc.                                       Bennett International Logistic
905 North Kings Highway                        P.O. Box 223                                     P.O. Box 100004
Texarkana, TX 75501-2201                       Inverness, MS 38753-0223                         McDonough, GA 30253-9304



Blue Diamond Attachments                       Brown Manufacturing                              Bush Hog, LLC
4512 Anderson Rd.                              6001 E. Hwy 27                                   P.O. Box 277213
Knoxville, TN 37918-2713                       Ozark, AL 36360-3965                             Atlanta, GA 30384-7213



CNH Capital America LLC                        CNH Industrial Capital America, LLC              CNH Industrial Capital America, LLC
233 Lake Avenue                                19500 N. 1425 East Rd.                           c/o John T. McGoldrick, Jr.
Racine, WI 53403-1015                          Hudson, IL 61748-7630                            P.O. Box 1606
                                                                                                Macon, Georgia 31202-1606


Card Assets Llc                                Cathy Walker                                     Chase Card Services
600 W Main                                     123 Bonnie Lane                                  Attn: Bankruptcy
Jacksonville, AR 72076-4432                    Lake Park, GA 31636-5607                         Po Box 15298
                                                                                                Wilmington, DE 19850-5298
Chase Card ServicesCase 19-71228   Doc 40 Cinta
                                            Filed
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                                                                                  Coleman Talley,  LLPMain
Po Box 15298                                  Document
                                          P.O. Box 360910    Page 8 of 11         c/o Mark Gilbert
Wilmington, DE 19850-5298                  Cincinnati, OH 45263-0910                 P.O. Box 5437
                                                                                     Valdosta, GA 31603-5437


Colonial Life Premium Process              Community Coffee Company                  Cowart & Son Storage
P.O. Box 903                               P.O. Box 679510                           2317 Old Clyattville RD.
Columbia, SC 29202-0903                    Dallas, TX 75267-9510                     Valdosta, GA 31601-1235



David M. Wolfson, P.C.                     Davis, Pickren, Seydel & Sneed            Diamond Mowers Inc.
c/o Karl Osmus                             c/o Patrick Sneed                         P.O. Box 85030
1010 Williams Street                       285 Peachtree Center Avenue Suite 2300    Sioux Falls, SD 57118-5030
Valdosta, GA 31601-4039                    Atlanta, GA 30303-1232


Dirt Dog Manufacturing                     Discover Bank                             (p)DISCOVER FINANCIAL SERVICES LLC
2405 US 441 South                          Discover Products Inc                     PO BOX 3025
Commerce, GA 30529-4889                    PO Box 3025                               NEW ALBANY OH 43054-3025
                                           New Albany, OH 43054-3025


Dish Network                               Diversified Financial Services            Diversified Financial Services, LLC
PO Box 9033                                P.O. Box 30040                            c/o Joseph W. Dent
Littleton, CO 80160-9033                   Omaha, NE 68103-1140                      Watson Spence LLP
                                                                                     P. O. Box 2008
                                                                                     Albany, GA 31702-2008

EMC Insurance Companies                    Elizabeth A. Hardy                        Engine Power Source
P.O. Box 219225                            440 Martin Luther King Jr. Blvd.          P.O. Box 36190
Kansas City, MO 64121-9225                 Room 302                                  Rock Hill, SC 29732-0502
                                           Macon, GA 31201-7987


Farmers and Merchants Bank                 Fausett Oil Company                       Gardner of Florida Ltd.
c/o Mark A. Gilbert                        P.O. Box 266                              P.O. Box 538176
Coleman Talley LLP                         Nashville, GA 31639-0266                  Atlanta, GA 30353-8176
P.O. Box 5437
Valdosta, GA 31603-5437

Georgia Attorney General                   (p)GEORGIA DEPARTMENT OF REVENUE          Great Plains
40 Capital Square SW                       COMPLIANCE DIVISION                       P.O. Box 226
Atlanta, GA 30334-9057                     ARCS BANKRUPTCY                           Salina, KS 67402-0226
                                           1800 CENTURY BLVD NE SUITE 9100
                                           ATLANTA GA 30345-3202

Gulf Coast Turf & Tractor                  Henry Mitchem Equipment Co.               Implement Sales
404 N. Frontage Rd.                        P.O. Box 490177                           1574 Stone Ridge Drive
Plant City, FL 33563-9188                  Leesburg, FL 34749-0177                   Stone Mountain, GA 30083-1404



Internal Revenue Service                   John T. McGoldrick, Jr.                   Josh Burke
PO Box 7346                                Attorney at Law                           2116 Dogwood Drive
Philadelphia, PA 19101-7346                P.O. Box 1606                             Valdosta, GA 31602-2708
                                           Macon, GA 31202-1606
                  Case
Kelley Manufacturing  Co. 19-71228   Doc 40 Kimball
                                              FiledMidwest
                                                      12/03/19 Entered 12/03/19 12:23:26      Desc
                                                                                   Kubota Credit  Corp Main
P.O. Drawer 1467                                Document
                                            Dept. L-2780      Page 9 of 11         1000 Kubota Dr
Tifton, GA 31793-1467                        Columbus, OH 43260-2780                  Grapevine, TX 76051-2334



Kubota Credit Corp                           LMC-AG, LLC                              Land Pride
Attn: Bankruptcy                             P.O. Drawer 3608                         P.O. Box 204183
Po Box 2046                                  Albany, GA 31706-3608                    Dallas, TX 75320-4183
Grapevine, TX 76099-2046


Landoll Corporation                          Lane Shark USA LLC                       Langdale Fuel Company
P.O. Box 469                                 4600 Highway 97A                         P.O. Box 0746
Marysville, KS 66508-0469                    Mc David, FL 32568-1439                  Valdosta, GA 31603-0746



Lisa Carter                                  Loftness Specialized Eq Inc.             Lovett & Tharpe
235 Walton Way                               P.O. Box 337                             P.O. Box 190
Nashville, GA 31639-6455                     Hector, MN 55342-0337                    Dublin, GA 31040-0190



Master Craft Industrial Equipment            Mastercraft                              Monroe Tufline Manufacturing Co.
333 Southwell Blvd                           333 Southwell Blvd.                      P.O. Box 7755
Tifton, GA 31794-8828                        Tifton, GA 31794-8828                    Columbus, MS 39705-0004



Mr. Cooper                                   Mr. Cooper                               Nashville Tractor, Inc.
350 Highland                                 Attn: Bankruptcy                         807 Tifton Rd.
Houston, TX 77009-6623                       8950 Cypress Waters Blvd                 Nashville, GA 31639-8704
                                             Coppell, TX 75019-4620


Nichols Tillage Tools, Inc.                  Northside Automotive                     Paladin Brands Group, Inc.
312 Hereford Avenue                          P.O. Box 698                             7194 Solution Center
Sterling, CO 80751-8472                      Valdosta, GA 31603-0698                  Chicago, IL 60677-7001



Ricoh                                        Rotary Corporation                       Royal Brass and Hose
P.O. Box 740540                              P.O. Box 930216                          P.O. Box 51468
Atlanta, GA 30374-0540                       Atlanta, GA 31193-0216                   Knoxville, TN 37950-1468



Safety-Kleen Corp.                           Shell Credit Card                        Southern Marketing Affil.
P.O. Box 650509                              P.O. Box 183019                          P.O. Box 2247
Dallas, TX 75265-0509                        Columbus, OH 43218-3019                  Jonesboro, AR 72402-2247



Sparex Inc.                                  Stihl Southeast, Inc.                    Studstill Firm, LLP
1500 North Raddant Rd.                       2304 W. Taft Vineland Rd.                Attn: Danny Studstill
Batavia, IL 60510-1377                       Orlando, FL 32837-7837                   P. O. Box 647
                                                                                      Nashville, GA 31639-0647
Tag Manufacturing, Case
                   Inc. 19-71228           Doc 40 Tarver
                                                    Filed   12/03/19 Entered 12/03/19 12:23:26
                                                         Sales                                      Desc Main
                                                                                         The Perry Company
P.O. Box 23667                                        Document
                                                  84636 Highway 25  Page 10 of 11        500 S. Valley Mills Drive
Chattanooga, TN 37422-3667                           Folsom, LA 70437-5826                                Waco, TX 76711-1176



U. S. Securities and Exchange Commission             U.S. Attorney General                                U.S. Trustee - MAC
Atlanta Regional Office                              U.S. Department of Justice                           440 Martin Luther King Jr. Boulevard
Reorganization Branch                                950 Pennsylvania Avenue, NW                          Suite 302
950 East Paces Ferry Rd NE., Ste. 900                Washington, DC 20530-0001                            Macon, GA 31201-7987
Atlanta, GA 30326-1382

United States Attorney                               VISA                                                 Valmont Industries, Inc.
Attn: Barbara Parker                                 P.O. Box 30131                                       P.O. Box 96969
Post Office Box 1702                                 Tampa, FL 33630-3131                                 Chicago, IL 60693-6969
Macon, GA 31202-1702


Vans Equipment Co. Inc.                              WR Long, Inc.                                        Weeks Farm Machinery Auction, Inc.
P.O. Box 3157                                        P.O. Box 460                                         c/o Dedra Varnadoe
Moultrie, GA 31776-3157                              Tarboro, NC 27886-0460                               2186 Sylvester Highway
                                                                                                          Moultrie, GA 31768-7100


Wells Fargo Home Mor                                 Wells Fargo Home Mortgage                            Windstream
Po Box 10335                                         Attn: Written Correspondence/Bankruptcy              P.O. Box 9001908
Des Moines, IA 50306-0335                            Mac#2302-04e Pob 10335                               Louisville, KY 40290-1908
                                                     Des Moines, IA 50306


Woods/Alloway                                        Rickey S. Carter                                     Robert M. Matson
P.O. Box 91736                                       235 Walton Way                                       Chapter 7 Trustee
Chicago, IL 60693-1736                               Nashville, GA 31639-6455                             P.O. Box 309
                                                                                                          Macon, GA 31202-0309


Thomas D. Lovett
Kelley, Lovett, Blakey and Sanders, P.C.
P.O. Box 1164
2912-B North Oak Street
Valdosta, GA 31602-5919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Farmers and Merchants Bank                           Discover Financial                                   (d)Discover Financial
PO Box 187                                           Attn: Bankruptcy Department                          Po Box 15316
Lakeland, GA 31635                                   Po Box 15316                                         Wilmington, DE 19850
                                                     Wilmington, DE 19850


(d)Farmers & Merchants Bank                          Georgia Dept. of Revenue
110 Carter St                                        Compliance Division
Lakeland, GA 31635                                   ARCS-Bankruptcy
                                                     1800 Century Blvd., NE, Suite 9100
                                                     Atlanta, GA 30345-3205
                     Case 19-71228        Doc 40       Filed 12/03/19 Entered 12/03/19 12:23:26                      Desc Main
                                                        Document     Page 11 of 11

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Bank of Alapaha                                   (d)Weeks Farm Machinery Auction, LLC                 End of Label Matrix
                                                     c/o David L. Bury, Jr.                               Mailable recipients   108
                                                     Stone & Baxter, LLP                                  Bypassed recipients     2
                                                     577 Mulberry Street, Suite 800                       Total                 110
                                                     Macon, GA 31201-8256
